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                                         Department of Veterans Affairs
                                         Veterans Health Administration
                                       NOTICE OF PRIVACY PRACTICES
                                        Effective Date September 23, 2013

  THIS NOTICE DESCRIBES HOW MEDICAL INFORMATION ABOUT YOU MAY BE USED OR DISCLOSED
                    AND HOW YOU CAN GET ACCESS TO THIS INFORMATION.

                                          PLEASE REVIEW IT CAREFULLY.

The Department of Veterans Affairs’ (VA) Veterans Health Administration (VHA) is required by law to maintain the
privacy of your protected health information and to provide you with notice of its legal duties and privacy practices.
VHA is also required to abide by the terms of this Notice and its privacy policies.

How VHA May Use or Disclose Your Health Information without Your Authorization (See below for more
information about these categories)

     Treatment (e.g., giving                  Law Enforcement                         -     Planning VA research projects
      information to VHA and other             Health Care Oversight (e.g.,                  (e.g., investigator accesses, but
      doctors and nurses caring for             giving information to the                     does not disclose or record,
      you)                                      Office of Inspector General                   individual health information
    Payment (e.g., giving                      or a Congressional                            to determine feasibility of
      information to non-VHA                                                                  opening a study)
                                                Committee)
      facilities that provide care or                                                      Military Activities (e.g., giving
                                               Cadaveric Organ, Eye, or
      services                                                                              information to the Department
                                                Tissue Donation
    Health Care Operations (e.g.,                                                          of Defense (DoD)
      giving information to individuals        Coroner or Funeral Activities              Academic Affiliates (e.g.,
     conducting Quality of Care                Services (e.g., giving                      giving information to assist in
     reviews)                                     information to contractors or             training medical students)
    Eligibility and Enrollment for               business associates performing           State Prescription Drug
      VA Benefits (e.g., giving                   services for VHA)                         Monitoring Program (SPDMP)
      information to officials who               National Security Matters                 reporting and query
      decide benefits)                           Workers’ Compensation Cases              General Information Disclosures
    Abuse Reporting (e.g., giving                (e.g., giving information to              (e.g., giving out general
      information about suspected                 officials who decide payments             information about you to your
      abuse of elders or children to              for workplace injuries Payment            family and friends)
      government agencies)                        (e.g., giving information to non-        Verbal disclosures to others while
    Health or Safety Activities                  VHA facilities that provide care          you are present
                                                  or services)
    Public Health Activities (e.g.,                                                       Verbal Disclosures when you are
      giving information about certain           Correctional Facilities and/or            not present (e.g., assisting Family
      diseases to government                      Parole Officers                           Members or Designated
      agencies)                                  When Required by Law                      Individuals Involved in your
     Judicial or Administrative                 Activities Related to Research            Care)
       Proceedings (e.g., responding              (e.g., certain activities with only
       to court orders)                           minimal or limited privacy or
                                                  confidentiality risks)


Other Uses and Disclosures with Your Authorization. We may use or disclose your health information for any purpose
based on a signed, written authorization you provide us. Your signed written authorization is always required to disclose
your psychotherapy notes if they exist. If we were to use or disclose your health information for marketing purposes we
would require your signed written authorization. In all other cases, we will not use or make a disclosure of your health
information without your signed, written authorization, unless the use or disclosure falls under one of the exceptions
described in this Notice. When we receive your signed written authorization we will review the authorization to determine
if it is valid, and then disclose your health information as requested by you in the authorization.
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Revocation of Authorization. If you provide us a written authorization or permission to use or disclose your health
information, you may revoke that permission, in writing, at any time. If you revoke your authorization, we will no longer
use or disclose your health information except to the extent that VHA has relied on your written authorization. Please
understand that we are unable to take back any uses or disclosures we have already made based on your authorization.

Your Privacy Rights

Right to Request Restriction.
You may request that we not use or disclose all or part of your health information to carry out treatment, payment or
health care operations, or that we not use or disclose all or part of your health information with individuals such as your
relatives or friends involved in your care, including use or disclosure for a particular purpose or to a particular person.

Please be aware, we are not required to agree to such restriction, except in the case of a disclosure restricted under 45 CFR
§ 164.522(a)(1)(vi). This provision applies only if the disclosure of your health information is to a health plan for the
purpose of payment or health care operations and your health information pertains solely to a health care service or visit
which you paid in full. However, VHA is not legally able to accept an out of pocket payment from a Veteran for the full
cost of a health care service or visit. We are only able to accept payment from a Veteran for co-payments. Therefore, this
provision does not apply to VHA and VHA is not required or able to agree to a restriction on the disclosure of your health
information to a health plan for the purpose of receiving payment for health care services provided to you.

To request a restriction, you must submit a written request that identifies the information you want restricted, when you
want it to be restricted, and the extent of the restrictions. All requests to restrict use or disclosure should be submitted to
the facility Privacy Officer at the VHA health care facility that provided or paid for your care. If we agree to your request,
we will honor the restriction until you no longer make the restriction request valid or you revoke it.

NOTE: We are not able to honor requests to remove all or part of your health information from the electronic database
of health information that is shared between VHA and DoD, or to restrict access to your health information by DoD
providers with whom you have a treatment relationship.

Right to Review and Obtain a Copy of Health Information. You have the right to review and obtain a copy of your
health information in our records. You must submit a written request to the facility Privacy Officer at the VHA health
care facility that provided or paid for your care.

NOTE: Please send a written request, to your VHA health care facility Privacy Officer. The VHA Privacy Office at
Central Office in Washington, D.C. does not maintain VHA health records, nor past military service health records. For
a copy of your military service health records, please contact the National Personnel Records Center at (314)801-0800.
The Web site is http://www.archives.gov/veterans/military-service-records/medical-records.html.

Right to Request Amendment of Health Information. You have the right to request an amendment (correction) to your
health information in our records if you believe it is incomplete, inaccurate, untimely, or unrelated to your care. You must
submit your request in writing, specify the information that you want corrected, and provide a reason to support your
request for amendment. All amendment requests should be submitted to the facility Privacy Officer at the VHA health
care facility that maintains your information.

If your request for amendment is denied, you will be notified of this decision in writing and provided appeal rights. In
response, you may do any of the following:

     File an appeal
     File a “Statement of Disagreement”
     Ask that your initial request for amendment accompany all future disclosures of the disputed health information

Right to Request Receipt of Communications in a Confidential Manner. You have the right to request that we
provide your health information to you by alternative means or at an alternative location. We will accommodate

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reasonable requests, as determined by VA/VHA policy, from you to receive communications containing your health
information:

  At a mailing address (e.g., confidential communications address) other than your permanent address
  In person, under certain circumstances

Right to Receive an Accounting of Disclosures. You have the right to know and request a copy of what disclosures of
your health information have been made to you and to other individuals outside of VHA. To exercise this right, you must
submit a written request to the facility Privacy Officer at the VHA health care facility that provides your care.

Right to a Printed Copy of the Privacy Notice. You have the right to obtain an additional paper copy of this Notice
from your VHA health care facility. You can obtain this Notice from the facility Privacy Officer at your local VHA
health care facility. You may also obtain a copy of this Notice at the following website,
http://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=1089

Notification of a Breach of your Health Information. If a breach of any of your protected health information occurs,
we will notify you and provide instruction for further actions you should take, if any.

Complaints. If you are concerned that your privacy rights have been violated, you may file a complaint with:
   The VHA health care facility’s Privacy Officer, where you are receiving care. Visit this Web site for VHA
     facilities and telephone numbers http://www1.va.gov/directory/guide/division_flsh.asp?dnum=1.
   VA via the Internet through “Contact the VA” at http://www.va.gov; by dialing 1-800-983-0936 or by writing the
    VHA Privacy Office (10P2C1) at 810 Vermont Avenue NW, Washington, DC 20420.
   The U.S. Department of Health and Human Services, Office for Civil Rights at
    http://www.hhs.gov/ocr/privacy/hipaa/complaints/index.html
   The Office of the Inspector General. http://www.va.gov/oig/contact/default.asp
   Complaints do not have to be in writing, though it is recommended.
     An individual filing a complaint will not face retaliation by any VA/VHA organization or VA/VHA
      employee.

Changes. We reserve the right to change this Notice. The revised privacy practices will pertain to all existing health
information, as well as health information we receive in the future. Should there be any changes we will make available
to you a copy of the revised Notice within 60 days of any change.

When We May Use or Disclose Your Health Information Without Your Authorization

Treatment. We may use and disclose your health information for treatment or to provide health care services. Treatment
may include:

     Emergency and routine health care or services,          Prescriptions for medications, supplies, and
      including but not limited to labs and x-rays; clinic     equipment
      visits; inpatient admissions                            Coordination of care, including care from non-VHA
     Contacting you to provide appointment                    providers
      reminders or information about treatment                Coordination of care with DoD, including electronic
      alternatives                                           information exchange

NOTE: If you are an active duty service member, Reservist or National Guard member, your health information is
available to DoD providers with whom you have a treatment relationship. Your protected health information is on an
electronic database that is shared between VHA and DoD. VHA does not have the ability to restrict DoD’s access to your
information in this database, even if you ask us to do so.
Examples:
1) A Veteran sees a VHA doctor who prescribes medication based on the Veteran’s health information. The VHA
pharmacy uses this information to fill the prescription.
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2) A Veteran is taken to a community hospital emergency room. Upon request from the emergency room, VHA discloses
health information to the non-VHA hospital that needs the information to treat this Veteran.
3) A National Guard member seeks mental health care from VHA. VHA discloses this information to DoD by entering
the information into a database that may be accessed by DoD providers at some future date.

Payment. We may use and disclose your health information for payment purposes or to receive reimbursement for care
provided, including:

     Determining eligibility for health care services               Pre-certifying benefits
     Paying for non-VHA care and services, including but            Billing and collecting for health care services
        not limited to, CHAMPVA and fee basis                         provided
     Coordinating benefits with other insurance payers              Providing personal information to consumer
     Finding or verifying coverage under a health insurance          reporting agencies regarding delinquent debt
      plan or policy                                                  owed to VHA
     Allowing you to pay for your health care out of pocket
      so that your insurance is not billed

Examples:
1) A Veteran is seeking care at a VHA health care facility. VA uses the Veteran’s health information to determine
eligibility for health care services.
2) The VHA health care facility discloses a Veteran’s health information to a private health insurance company to seek
and receive payment for the care and services provided to the Veteran.

Health Care Operations. We may use or disclose your health information without your authorization to support the
activities related to health care, including:

     Improving quality of care or         Conducting health care training          Legal services
      services                              programs                                 Conducting accreditation activities
     Conducting Veteran and               Managing, budgeting and planning         Certifying, licensing, or
      beneficiary satisfaction surveys      activities and reports                    credentialing of health care
     Reviewing competence or              Improving health care processes,          professionals
      qualifications of health care         reducing health care costs and           Conducting audits and compliance
      professionals                         assessing organizational                  programs, including fraud, waste
     Providing information about           performance                               and abuse investigations
      treatment alternatives or other      Developing, maintaining and
      health-related benefits and           supporting computer systems
      services

Examples:
1) Medical Service, within a VHA health care facility, uses the health information of diabetic Veterans as part of a quality
of care review process to determine if the care was provided in accordance with the established best clinical practices.
2) A VHA health care facility discloses a Veteran’s health information to the Department of Justice (DOJ) attorneys
assigned to VA for defense of VHA in litigation.

Eligibility and Enrollment for Federal Benefits. We may use or disclose your health information to other programs
within VA or other Federal agencies, such as the Veterans Benefits Administration, Internal Revenue Service or Social
Security Administration, to determine your eligibility for Federal benefits.

Abuse Reporting. We may use or disclose your health information without your authorization to report suspected child
abuse, including child pornography; elder abuse or neglect; or domestic violence to appropriate Federal, State, local, or
tribal authorities. This reporting is for the health and safety of the suspected victim.


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Health and Safety Activities. We may use or disclose your health information without your authorization when
necessary to prevent or lessen a serious threat to the health and safety of the public, yourself, or another person. Any
disclosure would only be to someone able to help prevent or lessen the harm, such as a law enforcement agency or the
person threatened. You will be notified in writing if any such disclosure has been made by a VHA health care facility.

Public Health Activities. We may disclose your health information without your authorization to public health and
regulatory authorities, including the Food and Drug Administration (FDA) and Centers for Disease Control (CDC), for
public health activities. Public health activities may include:

   Controlling and preventing             Reporting communicable diseases             Reporting adverse events and
    disease, injury, or disability          such as hepatitis, tuberculosis,             product defects or problems
   Reporting vital events such as          sexually transmitted diseases & HIV         Enabling product recalls, repairs
    births and deaths                      Tracking FDA-regulated products              or replacements

Judicial or Administrative Proceedings. We may disclose your health information without your authorization for
judicial or administrative proceedings, including:

   We receive an order of a court, such as a             To defend VA in judicial and administrative
     subpoena signed by a judge, or administrative          proceedings
     tribunal, requiring the disclosure

Law Enforcement. We may disclose your health information to law enforcement agencies for law enforcement purposes
when applicable legal requirements are met. These law enforcement purposes may include:

   Responding to a court order          Identifying or apprehending an             Routine reporting to law
   Responding to a specific              individual who has admitted to              enforcement agencies, such as
    request when in pursuit of a          participating in a violent crime            gunshot wounds
    focused civil or criminal law        Reporting a death where there is a         Providing certain information to
    enforcement investigation             suspicion that death has occurred as a      identify or locate a suspect,
   Reporting crimes occurring at a       result of a crime                           fugitive, material witness, or
     VHA site                            Reporting Fugitive Felons                   missing person

Health Care Oversight. We may disclose your health information to a governmental health care oversight agency (e.g.,
Inspector General; House Veterans Affairs Committee) for activities authorized by law, such as audits, investigations, and
inspections. Health care oversight agencies include government agencies that oversee the health care system, government
benefit programs, other government regulatory programs, and agencies that enforce civil rights laws.

Cadaveric Organ, Eye, or Tissue Donation. When you are an organ donor and death is imminent, we may use or
disclose your relevant health information to an Organ Procurement Organization (OPO), or other entity designated by the
OPO, for the purpose of determining suitability of your organs or tissues for organ donation. If you have not specified
your donation preferences and can no longer do so, your family may make the determination regarding organ donation on
your behalf.

Coroner or Funeral Services. Upon your death, we may disclose your health information to a funeral director for burial
purposes, as authorized by law. We may also disclose your health information to a coroner or medical examiner for
identification purposes, determining cause of death, or performing other duties authorized by law.

Services. We may provide your health information to individuals, companies and others who need to see your
information to perform a function or service for or on behalf of VHA. An appropriately executed contract and business
associate agreement must be in place securing your information.




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National Security Matters. We may use and disclose your health information without your authorization to authorized
Federal officials for the purpose of conducting national security and intelligence activities. These activities may include
protective services for the President and others.

Workers’ Compensation. We may use or disclose your health information without your authorization to comply with
workers’ compensation laws and other similar programs.

Correctional Facilities. We may disclose your health information without your authorization to a correctional facility if
you are an inmate and disclosure is necessary to provide you with health care; to protect the health and safety of you or
others; or for the safety of the facility.

Required by Law. We may use or disclose your health information for other purposes to the extent required or mandated
by Federal law (e.g., to comply with the Americans with Disabilities Act; to comply with the Freedom of Information Act
(FOIA); to comply with a Health Insurance Portability and Accountability Act (HIPAA) privacy or security rule
complaint investigation or review by the Department of Health and Human Services).

Activities Related to Research. Before we may use health information for research, all research projects must go
through a special VHA approval process. This process requires an Institutional Review Board (IRB) to evaluate the
project and its use of health information based on, among other things, the level of risk to you and to your privacy. For
many research projects, including any in which you are physically examined or provided care as part of the research, you
will be asked to sign a consent form to participate in the project and a separate authorization form for use and possibly
disclosure of your information. However, there are times when we may use your health information without an
authorization, such as, when:
    A researcher is preparing a plan for a research project. For example, a researcher needs to examine patient medical
      records to identify patients with specific medical needs. The researcher must agree to use this information only to
      prepare a plan for a research study; the researcher may not use it to contact you or actually conduct the study. The
      researcher also must agree not to remove that information from the VHA health care facility. These activities are
      considered preparatory to research.
    The IRB approves a waiver of informed consent and a waiver of authorization to use or disclose health information
      for the research because privacy and confidentiality risks are minimal and other regulatory criteria are satisfied.
    A Limited Data Set containing only indirectly identifiable health information (such as dates, unique characteristics,
      unique numbers or zip codes) is used or disclosed, with a data use agreement (DUA) in place.

Military Activities. We may use or disclose your health information without your authorization if you are a member of
the Armed Forces, for activities deemed necessary by appropriate military command authorities to assure the proper
execution of the military mission, when applicable legal requirements are met. Members of the Armed Forces include
Active Duty Service members and in some cases Reservist and National Guard members. An example of a military
activity includes the disclosure of your health information to determine fitness for duty or deployment to your Base
Commander.

Academic Affiliates. We may use or disclose your health information, without your authorization, to support our
education and training program for students and residents to enhance the quality of care provided to you.

State Prescription Drug Reporting Program (SPDMP). We may use or disclose your health information, without your
authorization, to a SPDMP in an effort to promote the sharing of prescription information to ensure appropriate medical
care.

General Information Disclosures. We may disclose general information about you to your family and friends. These
disclosures will be made only as necessary and on a need-to-know basis consistent with good medical and ethical
practices, unless otherwise directed by you or your personal representative. General information is limited to:
     Verification of identity
     Your condition described in general terms (e.g., critical, stable, good, prognosis poor)
     Your location in a VHA health care facility (e.g., building, floor, or room number)

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Verbal Disclosures to Others While You Are Present. When you are present, or otherwise available, we may disclose
your health information to your next-of-kin, family or to other individuals that you identify. For example, your doctor
may talk to your spouse about your condition while at your bedside. Before we make such a disclosure, we will ask you if
you object. We will not make the disclosure if you object.

Verbal Disclosures to Others When You Are Not Present. When you are not present, or are unavailable, VHA health
care providers may discuss your health care or payment for your health care with your next-of-kin, family, or others with
a significant relationship to you without your authorization. This will only be done if it is determined that it is in your
best interests. We will limit the disclosure to information that is directly relevant to the other person’s involvement with
your health care or payment for your health care.

Examples of this type of disclosure may include questions or discussions concerning your in-patient medical care, home-
based care, medical supplies such as a wheelchair, and filled prescriptions.

IMPORTANT NOTE: A copy of your medical records can be provided to family, next-of-kin, or other individuals
involved in your care only if we have your signed, written authorization or if the individual is your authorized surrogate
(the individual who is authorized to make health care decisions on your behalf if you can no longer do so) and the
practitioner determines that the information is needed for the individual to make an informed decision regarding your
treatment.

When We Offer You the Opportunity to Decline to the Use or Disclosure of Your Health Information

Patient Directories. Unless you opt-out of the VHA medical center patient directory when being admitted to a VHA
health care facility, we may list your general condition, religious affiliation and the location where you are receiving care.
This information may be disclosed to people who ask for you by name. Your religious affiliation will only be disclosed to
members of the clergy who ask for you by name. If you do object to being listed in the Patient Directory, no
information will be given out about you unless there is other legal authority. This means your family and friends
will not be able to find what room you are in while you are in the hospital. It also means you will not be able to
receive flowers or mail, including Federal benefits checks, while you are an inpatient in the hospital or nursing
home. All flowers and mail will be returned to the sender.

When We Will Not Use or Disclose Your Health Information

Sale of Health Information. We will not sell your health information. Receipt of a fee expressly permitted by law, such
as Privacy Act copying fees or FOIA fees is not a sale of health information.

Genetic Information Nondiscrimination Act (GINA). We will not use genetic information to discriminate against you
either through employment or to determine your eligibility for VA benefits.

Contact Information.

You may contact your VHA health care facility’s Privacy Officer if you have questions regarding the privacy of your
health information or if you would like further explanation of this Notice. The VHA Privacy Office may be reached by
mail at VHA Privacy Office, Office of Informatics and Analytics (10P2C1), 810 Vermont Avenue NW, Washington, DC
20420 or by telephone at 1-877-461-5038.

NOTE: A large print version of this Notice is available upon request from the facility where you are receiving care.




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